

Matter of Tantaros v Marin (2021 NY Slip Op 00642)





Matter of Tantaros v Marin


2021 NY Slip Op 00642


Decided on February 04, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 04, 2021

Before: Manzanet-Daniels, J.P., Singh, Kennedy, Mendez, JJ. 


Index No. 650476/18 Appeal No. 13060 Case No. 2020-03910 

[*1]In the Matter of Andrea K. Tantaros, Petitioner, 
v Hon. Alan C. Marin, et al., Respondents.


Jonathan Askin, Brooklyn and Fein &amp; Del Valle, PLLC, Washington DC (Bruce Fein of the Bar of the District of Columbia, admitted pro hac vice of counsel), for petitioner.
Letitia James, Attorney General, New York (Charles F. Saunders of counsel), for Hon. Alan C. Marin, respondent.
Jay M. Wolman, New York and Hogan Duff, LLP, Long Island City (Anderson Duff of counsel), for Michael Krechmer, respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 4, 2021








